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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                             CASE NO. 22-81294-CIV-CANNON

        DONALD J. TRUMP,

                           Plaintiff,

        v.

        UNITED STATES OF AMERICA,

                           Defendant.
                                              /

        [PROPOSED] BRIEF OF FORMER FEDERAL AND STATE GOVERNMENT
        OFFICIALS AS AMICI CURIAE IN OPPOSITION TO FORMER PRESIDENT
       TRUMP’S MOTION FOR JUDICIAL OVERSIGHT AND ADDITIONAL RELIEF


       Jay B. Shapiro                      Brad S. Karp*
       STEARNS WEAVER MILLER               Roberto Finzi*
       WEISSLER ALHADEFF &                 Harris Fischman*
       SITTERSON, P.A.                     David K. Kessler*
       150 West Flagler Street,            PAUL, WEISS, RIFKIND,
       Suite 2200                          WHARTON & GARRISON LLP
       Miami, FL 33130                     1285 Avenue of the Americas
       Tel: (305) 789-3229                 New York, NY 10019-6064
       jshapiro@stearnsweaver.com          Tel: (212) 373-3000
                                           bkarp@paulweiss.com
       Norman L. Eisen*                    rfinzi@paulweiss.com
       NORMAN EISEN PLLC                   hfischman@paulweiss.com
       2000 Massachusetts Avenue NW        dkessler@paulweiss.com
       Washington, DC 20036
       Tel: (202) 709-4945
       nleisen@normaneisenllc.com          Counsel for Amici Curiae

       Fred Wertheimer*                    * Pro hac vice application forthcoming
       DEMOCRACY 21
       2000 Massachusetts Avenue NW
       Washington, DC 20036
       Tel: (202) 355-9600
       fwertheimer@democracy21.org
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                           INTEREST AND IDENTITY OF AMICI CURIAE

                Amici are former federal prosecutors Donald B. Ayer, Gregory A. Brower, John J.

       Farmer Jr., Stuart M. Gerson, Peter D. Keisler, William F. Weld, and former New Jersey

       Governor Christine Todd Whitman.

                Amici all served in Republican administrations and collectively have decades of

       experience prosecuting cases involving sensitive materials or advising on matters

       regarding the proper scope of executive power and executive privilege. They also have

       substantial personal experience with the structure and process of law enforcement

       investigations, including investigations involving public officials.

                Given their decades of public service, their personal familiarity with the law

       enforcement and constitutional issues at issue here, and their commitment to the integrity

       of our democratic system, Amici maintain an active interest in the proper resolution of the

       important questions raised by former President Donald J. Trump’s pending motion.

                                            INTRODUCTION

                Amici respectfully submit this brief in connection with former President Trump’s

       motion for the appointment of a special master to adjudicate his claims of executive

       privilege over documents seized by federal prosecutors pursuant to a duly-issued warrant.

       For the reasons that follow, and regardless of one’s political views, it is clear that there is

       no legal support for the relief requested by the former President. The motion should be

       denied, for three independent reasons.1




       1
           To the extent that the former President is requesting the appointment of a special master
           to address claims of attorney-client privilege, Amici take no position on that request.

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               First, the relief sought is unprecedented. The former President has not cited—and

       Amici are not aware of—any precedent involving the appointment of a special master to

       adjudicate a claim of executive privilege (as opposed to attorney-client privilege) by a

       former president against the same Executive Branch to which the privilege belongs. That

       is not surprising. The purpose of the executive privilege is to prevent those outside the

       Executive Branch from intruding in the decision-making of the Executive Branch. That

       intrusion does not occur when the Executive Branch itself is the entity reviewing the

       records, and for its internal use.

               Second, Congress has established a specific procedure, set out in the Presidential

       Records Act (“PRA”), through which a former president may challenge a sitting

       president’s invocations of (or refusals to assert) executive privilege. The former

       President’s motion ignores that statute’s requirements, including the requirement that any

       challenge by a former president to the Executive Branch’s rejection of his claim of

       privilege be brought in the jurisdiction available under the PRA, the United States

       District Court for the District of Columbia. The former President thus seeks relief to

       which he is not entitled—adjudication of his claims of executive privilege by a special

       master—in a court that is statutorily precluded from hearing the matter.

               Third, the appointment of a special master to adjudicate the claims of executive

       privilege would be a waste of time because the claim of executive privilege against the

       Executive Branch in this case is manifestly frivolous. Controlling legal precedent on this

       issue establishes that determinations of executive privilege made by the current President

       outweigh claims of privilege made by a former president. Here, it is abundantly clear

       that the Executive Branch, including the President and the Acting Archivist of the United



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       States, have determined that the records at issue should be reviewed by the U.S.

       Department of Justice (“DOJ”) and the Federal Bureau of Investigation. Further, and in

       any event, executive privilege is not absolute; its protections are subject to a balancing of

       interests. Here, the former President has identified no concrete interests supporting his

       position, but the Executive Branch seeks the seized records for core constitutional

       functions: to conduct a criminal investigation and to assess the damage caused by

       potential mistreatment of classified information. The unprecedented appointment of a

       special master in this case would frustrate those core and time-sensitive government

       functions.

                                            BACKGROUND

              This dispute relates to the federal government’s efforts to recover official records

       that former President Trump took from the White House to his Mar-a-Lago estate in Palm

       Beach, Florida.

              In January 2021, in the process of finishing his term, the former President moved

       his belongings to Mar-a-Lago. The National Archives and Records Administration

       (“NARA”) subsequently learned of approximately two dozen boxes of presidential

       records that had not been returned to it as required under the PRA. See Luke Broadwater,

       et al., Inside the 20-Month Fight to Get Trump to Return Presidential Material, N.Y.

       TIMES (Aug. 26, 2022), https://www.nytimes.com/2022/08/26/us/politics/trump-

       documents-search-timeline.html.

                In January 2022, NARA was finally able to retrieve fifteen boxes of records,

       including documents bearing various classification markings, from former President

       Trump’s estate. See Kevin Breuninger, National Archives Retrieved 15 Boxes of Trump



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       White House Documents from Mar-a-Lago, CNBC (Feb. 7, 2022),

       https://www.cnbc.com/2022/02/07/national-archives-retrieved-15-boxes-of-trump-white-

       house-documents-from-mar-a-lago.html. Twenty-five of those documents were marked

       “Top Secret.” Affidavit in Support of an Application Under Rule 41 for a Warrant to

       Search and Seize, United States v. Sealed Search Warrant, No. 22-mj-08332 (S.D. Fla.

       Aug. 26, 2022), ECF No. 102-1 (“Search Warrant Affidavit”) at ¶ 47.

              In February 2022, NARA alerted the DOJ to the contents of the fifteen boxes of

       materials retrieved from Mar-a-Lago. See id. ¶ 1. Former President Trump attempted to

       delay the DOJ’s review of the materials by asserting executive privilege over the records.

       Letter from Debra S. Wall, Acting Archivist of the United States, NARA, to Evan

       Corcoran (May 10, 2022) at 2, https://www.archives.gov/files/foia/wall-letter-to-evan-

       corcoran-re-trump-boxes-05.10.2022.pdf (the “NARA May 10 Letter”). NARA,

       however, in consultation with the Assistant Attorney General for the Office of Legal

       Counsel, rejected former President Trump’s claim of executive privilege over the

       materials, on the basis that there was no precedent nor legal basis for the former

       President’s assertion of executive privilege in these circumstances. Id. at 2–3. The FBI

       then launched a criminal investigation to determine how these classified documents were

       removed from the White House; whether Mar-a-Lago was an authorized storage location

       for those documents; whether additional classified documents had been removed from the

       White House; and which individuals were involved in the removal and storage of the

       documents at Mar-a-Lago. Id.




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                In May 2022, former President Trump was served with a grand jury subpoena

       seeking documents bearing classification markings. Broadwater, Inside the 20-Month

       Fight to Get Trump to Return Presidential Material.

                 On August 5, 2022, the FBI obtained a warrant to search Mar-a-Lago on the

       grounds that it had found National Defense Information2 in the boxes NARA retrieved

       from Mar-a-Lago—including 92 documents marked “Top Secret”—and that there was

       probable cause to believe additional documents containing such information remained at

       the estate. Broadwater, Inside the 20-Month Fight to Get Trump to Return Presidential

       Material. On August 8, 2022, FBI agents searched Mar-a-Lago and seized

       approximately twelve boxes of documents. See Breuninger, National Archives Retrieved

       15 Boxes of Trump White House Documents from Mar-a-Lago.

                On August 22, 2022, former President Trump initiated this matter by filing a

       Motion for Judicial Oversight and Additional Relief that asks this Court to appoint a

       special master to, among other functions, review the seized documents. That motion

       argues that “fairness” requires a “neutral reviewer” to ensure the “sanctity” of the seized

       records, which were created during the former President’s term of office and are therefore

       “presumptively privileged.” ECF No. 1 at 15. The motion refers to various “executive

       communications and other privileged materials.” Id. at 14. According to former

       President Trump, the filter team established by the DOJ is unable to serve as a neutral



       2
           A footnote in the search warrant affidavit explores the definition of “national defense
           information” for purposes of 18 U.S.C. § 793(e), as the statute does not provide a
           definition. Search Warrant Affidavit at 22 n.2. The affidavit states that courts have
           construed the term broadly to refer to “military and naval establishments and the related
           activities of national preparedness,” that the information “must be ‘closely held’ by the
           U.S. government,” and that some courts have also held that the disclosure of such
           information “must be potentially damaging to the United States.” Id.

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       reviewer because the team’s protocols were approved by a magistrate judge ex parte

       “without input from” former President Trump. ECF No. 1 at 17. At this Court’s

       direction, the former President subsequently submitted a Supplemental Filing in Support

       of the Motion for Judicial Oversight and Additional Relief that made substantially the

       same arguments for a special master. ECF No. 28.

                 On August 27, 2022, this Court entered a preliminary order providing notice of

       the Court’s “preliminary intent” to appoint a special master and setting a hearing on the

       Motion and briefing schedule.

                                               ARGUMENT

            I.      THERE IS NO LEGAL BASIS FOR THE APPOINTMENT OF A
                    SPECIAL MASTER TO REVIEW THE CLAIM OF EXECUTIVE
                    PRIVILEGE HERE.

                    A.      Cases In Which Courts Have Appointed Special Masters Involve
                            Claims of Attorney-Client (Not Executive) Privilege.

                 In arguing for the appointment of a special master to address claims of executive

       privilege, former President Trump’s motion relies entirely on cases in which a special

       master was appointed to address claims of attorney-client privilege, not executive

       privilege. Moreover, each of those cases involved the review of documents seized during

       the search of a law office or lawyer’s home,3 locations likely to hold substantial records



       3
           In the Matter of Search Warrants Executed on April 9, 2018, No. 18-MJ-3161
           (S.D.N.Y.), ECF No. 104 at 39 (search of lawyer’s office); In re Sealed Search
           Warrant & Application for a Warrant by Tel. or Other Reliable Elec. Means, 2020 WL
           6689045, at *3 (S.D. Fla. Nov. 2, 2020) (search of in-house counsel’s office); United
           States v. Stewart, 2002 WL 1300059, at *1 (S.D.N.Y. June 11, 2002) (search of
           lawyer’s office); United States v. Hunter, 13 F. Supp. 2d 574, 580 (D. Vt. 1998) (search
           of lawyer’s home office); United States v. Abbell, 914 F. Supp. 519, 519 (S.D. Fla.
           1995) (search of lawyer’s office); In re Search Warrant for Law Offices Executed on
           March 19, 1992, 153 F.R.D. 55, 57 (S.D.N.Y. 1994) (search of lawyer’s office).


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       implicating attorney-client privileges held by a number of different individuals, including

       individuals not related to the investigation giving rise to the search.

                Because of the high likelihood that privileged attorney-client materials and work

       product would be collected in the search of these locations, and because the collection

       and review of those materials often implicates the rights and privileges of unrelated

       parties, courts have recognized that those searches “raise special concerns, which impose

       a need for heightened care.” United States v. Stewart, 2002 WL 1300059, at *3

       (S.D.N.Y. June 11, 2002). These concerns can be especially acute where the search in

       question (unlike the search at issue here) is of a criminal defense attorney’s offices,

       because such a search “raise[s] Sixth Amendment concerns that would not otherwise be

       present in the search of the offices of a civil litigation attorney,” and because the seized

       materials are “likely to contain privileged materials relating not only to unrelated criminal

       defendants but also to the clients of attorneys other than the defendant, for whom there

       has been no showing of probable cause of criminal conduct.” Id. at *5, 7.4

                Nothing in any of the precedents cited by the former President says anything

       about executive privilege, a doctrine that implicates entirely different interests and




       4
           Even while recognizing that extraordinary circumstances can allow for the appointment
           of a special master to protect attorney-client privilege, courts have nevertheless
           generally maintained the position that “the filter team process adequately safeguards the
           attorney-client privilege and the constitutional rights of the search subjects and their
           clients.” Order, In re Search Warrants Executed on April 28, 2021, No. 1:21-mc-00425
           (May 28, 2021 S.D.N.Y.), ECF No. 20 at 4; Apr. 26, 2018 Hr’g Tr., In re Search
           Warrants Executed on April 9, 2018, No. 18-MJ-3161 (May 2, 2018 S.D.N.Y.), ECF.
           No. 38 at 8:3–9 (“As I’ve said before, I view a taint team to be as fair as one done by a
           good special master. I am agreeing with the government and counsel that a special
           master makes sense at this point, notwithstanding that I think we all know that the
           Southern District prosecutors have integrity and decency and could do the job with
           utmost integrity.”).

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       concerns. Specifically, the executive privilege at issue operates to protect a sitting

       president’s decision-making and deliberations to ensure the receipt of full and frank

       advice. See Trump v. Thompson, 20 F.4th 10, 25–26 (D.C. Cir. 2021), cert. denied, 142

       S. Ct. 1350 (2022) (internal citations omitted) (“[The presidential communications]

       privilege allows a President to protect from disclosure ‘documents or other materials that

       reflect presidential decisionmaking and deliberations and that the President believes

       should remain confidential.’ . . . [b]ecause ‘[a] President and those who assist him must

       be free to explore alternatives in the process of shaping polices and making decisions and

       to do so in a way many would be unwilling to express except privately.’’”); In re Lindsey,

       148 F.3d 1100, 1120 (D.C. Cir. 1998) (Tatel, J. concurring) (internal citations omitted)

       (“Unlike the executive privilege—a broad, constitutionally derived privilege that protects

       frank debate between President and advisers,” the attorney-client privilege is “narrower”

       and protects “only communications with lawyers ‘for the purpose of obtaining legal

       assistance.’”).

                Not surprisingly given this context, former President Trump has failed to explain

       why cases involving the appointment of a special master to review for attorney-client

       privilege have any relevance here.5 A special master in this matter would not, for




       5
           In a number of the cases cited in the motion, no party objected to the appointment of a
           special master. See In re Search Warrants Executed on April 28, 2021, 2021 WL
           2188150, at *4 (S.D.N.Y. May 28, 2021) (noting, in regard to government’s request to
           appoint a special master to review potentially privileged documents, that the subjects of
           the searches, “Giuliani and Toensing[,] do not appear to dispute that the appointment of
           a special master is appropriate”); In re Search Warrants Executed on April 9, 2018, No.
           18-MJ-3161 (S.D.N.Y. April 26, 2018), ECF. No. 28 at 1 (informing the court, in
           advance of the conference regarding appointment of a special master to conduct the
           review of the potentially privileged materials, that the government was prepared to
           withdraw its objection to such an appointment); see also Fed. R. Civ. P. 53(a)(1)

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       example, protect the interests or rights of third parties, which is a primary attorney-client

       privilege concern during the search of law firms and lawyers’ offices. Cf. In re Sealed

       Search Warrant and Application for a Warrant by Tel. or Other Reliable Elec. Means,

       2020 WL 6689045, at *2 (S.D. Fla. Nov. 2, 2020), aff’d, 11 F.4th 1235 (11th Cir. 2021)

       (affirming order authorizing federal prosecutor to conduct filter review and rejecting

       movant’s reliance on cases regarding searches of law offices because “those cases

       involved different concerns,” including the “risk that the members of the filter team

       would at some point be involved in the criminal investigation and/or prosecution of other

       clients who were not the subject of the underlying investigation,” which concerns did not

       apply “where the documents seized pertain only to Movants and its in-house counsel”).

       The executive privilege belongs to the Executive Branch, and the materials here are being

       reviewed by the Executive Branch. See Thompson, 20 F.4th at 26 (quoting Nixon v.

       Adm’ of Gen. Services, 433 U.S. 425, 449 (1977)) (“The executive privilege is just that—

       a privilege held by the Executive Branch, ‘not for the benefit of the President as an

       individual, but for the benefit of the Republic.’”).

              Moreover, unlike the evaluation of the attorney-client privilege, the decision

       about whether executive privilege applies to a certain set of communications is itself best

       left to the special expertise of the executive branch. Cf. Trump v. Thompson,

       573 F. Supp. 3d 1, 17 (D.D.C. 2021), aff’d, 20 F.4th 10 (D.C. Cir. 2021), cert. denied,

       142 S. Ct. 1350 (2022) (holding that former President Trump’s “assertion of privilege is

       outweighed by President Biden’s decision not to uphold the privilege, and the court will




         (permitting appointment of special masters to “perform duties consented to by the
         parties”).

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       not second guess that decision by undertaking a document-by-document review that

       would require it to engage in a function reserved squarely for the Executive.”).

              Nor does the fact that this case has national significance, or great public interest,

       warrant the appointment of a special master in the absence of legal authority justifying

       that appointment, and these interests should give way to the national security exigency

       that the DOJ and FBI recover the records unhampered.

                  B.      The Presidential Records Act Forecloses the Relief that the
                          Former President Seeks.

              Through the PRA, Congress has provided procedures by which a former president

       may raise or challenge a claim of executive privilege for consideration by a subsequent

       administration. See, e.g., 44 U.S.C. §§ 2204(e), 2208(a)–(b). The relief that former

       President Trump seeks in this Court is foreclosed by the PRA.

              Congress enacted the PRA in 1978 “to insure the preservation of and public

       access to the official records of the President.” Presidential Records Act of 1978, Pub. L.

       No. 95–591, 92 Stat. 2523, 2523 (1978); see also H.R. Rep. No. 95–1487 at 5732, 95th

       Cong., 2d Sess. 2 (1978); Armstrong v. Bush, 924 F.2d 282, 287 (D.C. Cir. 1991). To

       carry out this objective, Congress decided that “[t]he United States shall reserve and

       retain complete ownership, possession, and control of Presidential records.” 44 U.S.C. §

       2202. Congress defined “Presidential records” to include any documents created or

       received by a president “in the course of conducting activities which relate to or have an

       effect upon the carrying out of the constitutional, statutory, or other official or ceremonial

       duties of the President,” 44 U.S.C. § 2201(2), and required that such records be made

       available pursuant to a court-issued warrant subject to any applicable rights, defenses, or

       privileges, 44 U.S.C. § 2205(2)(A).


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              Congress also established the method for a former president “to assert any claim

       of constitutionally based privilege against disclosure of a Presidential record” to the

       public by the current Executive Branch. 44 U.S.C. § 2208(b)(1). To do so, a former

       president invoking the PRA must “notify the Archivist [of the United States], the

       Committee on Oversight and Government Reform of the House of Representatives, and

       the Committee on Homeland Security and Governmental Affairs of the Senate of a

       privilege claim.” 44 U.S.C. § 2208(b)(2). The PRA provides that the Archivist must

       then consult with the sitting President to determine whether the sitting President will

       uphold the claim. 44 U.S.C. § 2208(c)(1). If the sitting President decides not to assert

       the claim of privilege, the former President can institute court proceedings. 44 U.S.C. §

       2208(c)(1)(C). And the PRA establishes that “any action” to challenge a privilege

       determination by the Archivist should be brought in the United States District Court for

       the District of Columbia. 44 U.S.C. § 2204(e) (“The United States District Court for the

       District of Columbia shall have jurisdiction over any action initiated by the former

       President asserting that a determination made by the Archivist violates the former

       President’s rights or privileges.”).

              The records seized here—documentary material created or received by the former

       President during his term of office—seem clearly subject to the PRA (of course, Amici

       are not privy to anything other than public information about the documents). And the

       former President’s assertion of executive privilege confirms that he views the seized

       records as “Presidential records” subject to the PRA, because executive privilege could

       apply only to such records. See 44 U.S.C. § 2201(2) (defining “Presidential records”).




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                It is not clear that the procedure in Section 2208 of the PRA, which on its face

       governs a challenge to a decision to make Presidential records “public” over a claim of

       executive privilege by a former president, applies to this matter. After all, the seized

       records are not being provided to the “public” but rather to the Executive Branch, at least

       in the first instance. On the other hand, the former President appears to view the

       disclosures at issue here as akin to disclosures to the public, and there is reason to believe

       that Congress did not intend to establish a dispute-resolution framework involving a

       former president that applied only when public disclosure, as opposed to “disclosure” to a

       subsequent administration, was at issue.6 To the extent the procedures in Section 2208

       apply to a decision to provide records created in one administration to the Executive

       Branch of a subsequent administration, it appears that former President Trump has not

       followed the procedures set forth in Section 2208 of the PRA with respect to the seized

       materials.7


       6
           The text of the PRA may not directly address the scenario at issue here—a former
           president invoking executive privilege to try to prevent disclosure of Presidential
           records for the internal use of a subsequent Executive Branch—because, as discussed
           elsewhere in this brief, it is obvious that executive privilege would not apply in such a
           scenario.
       7
           Former President Trump argues that he has asserted a claim of executive privilege over
           the documents at issue, but it appears he has not followed the prescribed mechanism for
           doing so. He simply proclaimed via social media on August 14, 2022, that executive
           privilege applied to the seized records, despite no indication that he has formally
           asserted an executive privilege claim over those records. See Donald J. Trump
           (@realDonaldTrump), Truth Social (Aug. 14, 2022, 8:22 AM),
           https://truthsocial.com/@realDonaldTrump/posts/108821201066287577. Even if
           former President Trump were deemed to have notified the Archivist that he was
           asserting a claim of executive privilege in April 2022, there is no evidence that he also
           notified the Committee on Oversight and Government Reform of the House of
           Representatives, or the Committee on Homeland Security and Governmental Affairs of
           the Senate as required by statute. See NARA May 10 Letter at 2; 44 U.S.C. § 2208(a)–
           (b).


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                Regardless of the extent that Section 2208 applies, however, the former

       President’s motion should be denied based upon Section 2204 of the PRA because this

       motion has been brought in the wrong court. As set forth above, the PRA grants

       jurisdiction for a former president’s challenges to a current president’s rejection of a

       claim of executive privilege in the United States District Court for the District of

       Columbia, not the Southern District of Florida. See 44 U.S.C. § 2204(e). As a result,

       former President Trump seeks to circumvent the statutorily prescribed process Congress

       has laid out for adjudicating his claim of executive privilege against the current Executive

       Branch. Congress has expressly decided that such claims should be resolved in the

       United States District Court for the District of Columbia.

                Amici respectfully submit that this Court should require compliance with the

       statutory scheme in the PRA, and should thus deny the instant motion in order to allow

       the applicable statutory dispute resolution mechanism to operate as Congress expressly

       intended. Cf. Thompson, 573 F. Supp. 3d at 17 (holding that former President Trump’s

       “assertion of privilege is outweighed by President Biden’s decision not to uphold the

       privilege, and the court will not second guess that decision by undertaking a document-

       by-document review that would require it to engage in a function reserved squarely for

       the Executive.”).8




       8
           Additionally, former President Trump argues that the documents at issue belong in his
           possession because “the PRA accords the President virtually complete control over his
           records during his term of office.” Armstrong v. Bush, 924 F.2d 282, 290 (D.C. Cir.
           1991). While the quote from Armstrong may be accurate, the former President omits
           that his term of office is expired, so his basis for claiming control over the seized
           records no longer exists. Nor would his “control” of the records serve as a basis for
           special master review, particularly where the records were seized pursuant to a duly-
           issued warrant.

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          II.      EVEN IF THERE WAS A LEGAL BASIS FOR APPOINTING A
                   SPECIAL MASTER, EXECUTIVE PRIVILEGE CLEARLY DOES
                   NOT APPLY TO THE SEIZED RECORDS.

                Even if there was a legal basis for appointing a special master in this case, which

       there is not, that appointment would be unnecessary because executive privilege will not

       apply to any of the seized records as against the Executive Branch. That is because the

       incumbent President has chosen not to assert a claim of executive privilege over the

       records, and the records are sought by the Executive Branch for the purpose of carrying

       out its constitutional functions.

                Even assuming that a former president may, in certain circumstances, assert

       claims of executive privilege against the Executive Branch after leaving office, that claim

       of privilege cannot survive an objection to the claim by an incumbent president. As one

       court, considering another claim of executive privilege raised by former President Trump,

       recently explained:

                       “[T]his is a dispute between a former and incumbent
                       President. And the Supreme Court has already made clear
                       that in such circumstances, the incumbent’s view is
                       accorded greater weight. This principle is grounded in ‘the
                       fact that the privilege is seen as inhering in the institution
                       of the Presidency, and not in the President personally.’ . . .
                       Only ‘the incumbent is charged with performance of the
                       executive duty under the Constitution.’ . . . And it is the
                       incumbent who is ‘in the best position to assess the present
                       and future needs of the Executive Branch, and to support
                       invocation of the privilege accordingly.’”

       Thompson, 573 F. Supp. 3d at 15–16 (emphasis added).

                Indeed, U.S. courts have long recognized the greater weight accorded to the

       sitting president’s view about a claim of executive privilege raised by a former president.

       See, e.g., Nixon v. Adm’ of Gen. Services, 408 F. Supp. 321, 344–45 (D.D.C. 1976), aff’d,

       433 U.S. 425 (1977) (“For even assuming arguendo that Mr. Nixon may, as a former

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       President, assert executive privilege, such a claim is not as forceful as one raised by an

       incumbent. All of the reasons militating against permitting a former President to assert

       privilege without the support of the incumbent suggest, at the least, that if he is to be

       allowed to do so, such a claim carries much less weight than a claim asserted by the

       incumbent himself.”). This is because the incumbent President is “vitally concerned with

       and in the best position to assess the present and future needs of the Executive Branch,

       and to support invocation of the privilege accordingly.” Nixon, 433 U.S. at 449.

       Therefore, where the incumbent has chosen not to assert that a document is “of the kind

       whose nondisclosure is necessary to the protection of the presidential office and its

       ongoing operation,” the significance of the former President’s assertion as to the same

       document is necessarily “diminished.” Dellums v. Powell, 561 F.2d 242, 248 (D.C. Cir.

       1977) (“The former president’s . . . claim has less significance as an assertion of the

       current needs of the office.”); see also Nixon, 433 U.S. at 449 (“At the same time,

       however, the fact that neither President Ford nor President Carter supports appellant’s

       claim detracts from the weight of his contention that the Act impermissibly intrudes into

       the executive function and the needs of the Executive Branch..”).

              Notably, even those who argue that a former president could successfully assert

       executive privilege over the objection of an incumbent president have explicitly stopped

       short of arguing that the former president’s claim would prevail where “the incumbent

       President believes that the discharge of his constitutional duties (e.g., investigation and

       prosecution of alleged crimes) demands the disclosure of documents claimed by the

       former President to be privileged.” Review of Nixon President Materials Access

       Regulations: Hearing Before the Subcomm. on Gov’t Operations of the H. Comm on



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       Oversight and Gov’t Reform, 99th Cong. 288 (1986) (correspondence with, and materials

       provided by, the National Archives and Records Administration).9 In other words, there

       is no basis for the claim that a former president’s assertion of executive privilege should

       block a current president from pursuing his constitutional duties.

                Indeed, to allow a former president to use a claim of executive privilege to

       undermine the work of a current president would undermine the very purpose of

       executive privilege: to ensure that the Executive Branch can effectively discharge its

       constitutional powers. U.S. v. Nixon, 418 U.S. 683, 711 (1974) (“[T]o the extent this

       interest relates to the effective discharge of a President’s powers, it is constitutionally

       based.”).

                In this case, it is clear that the dispositive view of the sitting President is that the

       seized materials should be provided to the DOJ and the FBI, regardless of any claim of

       executive privilege by the former President. Specifically, in May 2022, President Biden

       deferred to the determination of the Acting Archivist of the United States regarding the

       application of executive privilege to the fifteen boxes of records returned to NARA

       earlier this year. NARA May 10 Letter at 2. Those records are not materially different

       from the seized records at issue here or in June 2022—all of the records were taken from




       9
           During congressional testimony on this topic, Assistant Attorney General Charles
           Cooper elaborated that, “an incumbent President need not respect a former President’s
           claim of privilege if the incumbent feels that it would interfere with his ability to
           execute his legal and constitutional responsibilities as he, alone, understands and
           perceives them.’” Michael Stern, Assessing Trump’s Claim of ‘Executive Privilege’ on
           FBI Access to MAL Docs, JUST SEC. (Aug. 28, 2022),
           https://www.justsecurity.org/82873/ assessing-trumps-claim-of-executive-privilege-on-
           fbi-access-to-mal-docs/.

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       the White House by the former President, and he has asserted the same general claim of

       executive privilege over all of them.

              The Acting Archivist, in consultation with the Assistant Attorney General for the

       Office of Legal Counsel, has determined that there is no basis for former President

       Trump’s claim of executive privilege in these circumstances, where “such records contain

       information that is needed for the conduct of current business of the incumbent

       President’s office and that is not otherwise available.” Id. at 3 (noting that the question

       presented “is not a close one”). The Acting Archivist’s analysis stated that access to the

       records was not only necessary for purposes of an ongoing criminal investigation, but

       also to conduct an intelligence community damage assessment. NARA May 10 Letter at

       2–3. This analysis concerned the fifteen boxes previously obtained, but the analysis

       applies equally to the seized records, over which the former President makes identical,

       preemptive assertions of executive privilege. In other words, there is no reason to

       doubt—and every reason to believe—that the Acting Archivist would reach exactly the

       same conclusion with respect to the seized records as with the fifteen boxes previously

       considered. Because the view of the current administration outweighs the view of the

       former President, and because the documents are being sought by the Executive Branch

       in furtherance of a legitimate law-enforcement and intelligence community interest,

       review by a special master would be needless.

              Finally, executive privilege is a qualified form of privilege, and courts have

       analyzed its application by a balancing of interests. See Nixon, 408 F. Supp. at 342

       (internal citations omitted) (“The need for protection of such confidentiality, as deriving

       from the separation of powers, was recognized by the Supreme Court in United States v.



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       Nixon . . . in the form of a qualified privilege for certain executive communications. Both

       the Supreme Court and the court of appeals in this circuit, however, refused to recognize

       an absolute privilege, . . . instead analyzing with precision in each case how to

       accommodate the confidentiality protected by a qualified privilege to competing needs of

       other branches.”).

                 As a result, and even if there were precedent for allowing a former president’s

       assertion of executive privilege to be evaluated by a court notwithstanding the

       incumbent’s objection, former President Trump has failed in his two filings before this

       Court to establish that any interest protected by executive privilege outweighs the

       Executive Branch’s competing interests in access to these materials. Most notably, the

       former President has failed to identify a “specific countervailing need for confidentiality

       tied to the documents at issue, beyond their being presidential communications” and to

       make “particularized showings in justification of his claims of privilege[.]” Thompson,

       20 F. 4th at 38 (quoting Sen. Select Comm. on Pres. Campaign Activities v. Nixon, 498

       F.2d 725, 730 (D.C. Cir. 1974)).

                 By contrast, the Executive Branch’s countervailing interest in these materials is

       compelling. The Executive Branch seeks the seized records to pursue a criminal

       investigation of the improper treatment of government records, including records

       containing information classified as “Top Secret,” and to conduct a damage assessment

       and take remedial steps based upon the potential disclosure of those materials.10 ECF No.



       10
            The Government represented to the Court on August 29, 2022, that the Office of the
            Director of National Intelligence (“ODNI”) is already conducting its classification
            review of materials recovered pursuant to the search and leading an intelligence
            community assessment of the potential risk to national security resulting from
            disclosure of these records. ECF No. 31 ¶ 5. Given the relatively limited volume of

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       31 ¶ 4; Search Warrant Affidavit ¶¶ 1–2, 47. These are essential, constitutional functions

       that the Executive Branch cannot adequately perform without access to the seized

       records. And, in particular, there is great urgency in conducting a thorough damage

       assessment of any potential mistreatment of classified materials, which militates against

       the additional delay that would inevitably result from the appointment of a special master

       in this matter. To indulge former President Trump’s assertions of executive privilege

       through the appointment of a special master would simply put off the inevitable, and

       harm significant national interests in the process by delaying a criminal investigation and

       intelligence community assessment of damage.

                                            CONCLUSION

              For the foregoing reasons, Amici respectfully submit that the Court should deny

       former President Trump’s request to appoint a special master in this matter.




         records at issue, the exigency of the review, and the unique qualifications necessary for
         a potential special master, it is impracticable and imprudent to interrupt the ODNI’s
         work to appoint a special master.

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       Dated: August 30, 2022              Respectfully submitted,

       /s/ Jay B. Shapiro                  /s/ Brad S. Karp
       Jay B. Shapiro                      Brad S. Karp*
       STEARNS WEAVER MILLER               Roberto Finzi*
       WEISSLER ALHADEFF &                 Harris Fischman*
       SITTERSON, P.A.                     David K. Kessler*
       150 West Flagler Street,            PAUL, WEISS, RIFKIND,
       Suite 2200                          WHARTON & GARRISON LLP
       Miami, FL 33130                     1285 Avenue of the Americas
       Tel: (305) 789-3229                 New York, NY 10019-6064
       jshapiro@stearnsweaver.com          Tel: (212) 373-3000
                                           bkarp@paulweiss.com
       Norman L. Eisen*                    rfinzi@paulweiss.com
       NORMAN EISEN PLLC                   hfischman@paulweiss.com
       2000 Massachusetts Avenue NW        dkessler@paulweiss.com
       Washington, DC 20036
       Tel: (202) 709-4945                 Counsel for Amici Curiae
       nleisen@normaneisenllc.com
                                           * Pro hac vice application forthcoming
       Fred Wertheimer*
       DEMOCRACY 21
       2000 Massachusetts Avenue NW
       Washington, DC 20036
       Tel: (202) 355-9600
       fwertheimer@democracy21.org




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                                   CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on August 30, 2022, a true and correct copy of the

       foregoing document was filed with the Clerk of the Court using the CM/ECF system. I

       also certify that copies of the foregoing document are being served on all counsel of

       record identified on the attached Service List via transmission of the Notice of Electronic

       Filing generated by CM/ECF.

                                                            /s/ Jay B. Shapiro
                                                            Jay B. Shapiro


                                           SERVICE LIST

        James M. Trusty                               Juan Antonio Gonzalez , Jr.
        IFRAH, PLLC                                   United States Attorney’s Office -
        1717 Pennsylvania Avenue, NW, Suite           H.I.D.T.A.
        650                                           11200 NW 20th Street
        Washington, DC 20006                          Suite 101
        202-852-5669                                  Miami, FL 33172
        Email: jtrusty@ifrahlaw.com                   305-715-7640
                                                      Fax: 305-715-7639
        Lindsey Halligan                              Email: juan.antonio.gonzalez@usdoj.gov
        511 SE 5th Avenue                             Counsel for Defendant United States of
        Suite 1008                                    America
        Fort Lauderdale, FL 33301
        720-435-2870
        Email: lindseyhalligan@outlook.com

        M. Evan Corcoran
        Silverman, Thompson, Slutkin, & White,
        LLC
        400 East Pratt Street, Suite 900
        Baltimore, MD 21230
        410-385-2225
        Email:
        ecorcoran@silvermanthompson.com
        Counsel for Plaintiff Donald J. Trump




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